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                             UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,
                                                        Case No. 1:18-cv-00950-LO-JFA
v.

COX COMMUNICATIONS, INC., et al.,

         Defendants.


       MOTION TO STRIKE THE DECLARATION OF THOMAS PATRICK LANE AND
             PORTIONS OF THE DECLARATION OF THOMAS KEARNEY

            Plaintiffs respectfully move the Court to strike the Declaration of Thomas Patrick Lane in

     Support of Defendants’ Motion for Summary Judgment (“Lane Declaration), ECF No. 397, and

     portions of the Declaration of Thomas Kearney in Support of Defendants’ Motion for Summary

     Judgment (“Kearney Declaration), ECF No. 400. For the reasons set forth in the accompanying

     Memorandum in Support, Plaintiffs respectfully request the Court grant this Motion, issue an

     order striking the Lane Declaration and portions of the Kearney Declaration from the summary

     judgment record, and give no consideration to the stricken portions of the Lane and Kearney

     Declarations in deciding the parties’ summary judgment motions.


       Dated: October 3, 2019                        Respectfully submitted,

                                                     /s/ Scott A. Zebrak
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